
Swing, J.
This was an action brought m the court of common pleas of Hamilton county for damages alleged to have been caused by the negligence of said city in permitting water and earth to flow upon plaintiffs property by reason of which great damage was done to plaintiff’s buildings. On the trial in the court of common pleas the jury returned a verdict for the city,and this action is prosecuted in this court to reverse the verdict and judgment of that court.
According to the evidence, some twenty-two years ago, Dodd and others, being then the owners of the land in question, laid it out into lots and construcuted a street on which the lots abutted, viz., Alpine Place. It also appears from the evidence that a certain triangular piece of ground, lying next to plaintiff’s ground, and between the streets, Alpine Place and Nassau streets, was used as a stone quarry. The stone was removed, and afterwards, it being found necessary for the support of Alpine Place,the excavation was refilled with earth. After the street was built it was turned over to the city.
The plaintiff purchased this lot about ten years ago, and when the street and this triangular piece of ground was in the condition above described. The plaintiff’s land, or lot, fronted on Nassau street, 50 or 75 feet, and ran back to Alpine Place,90 or 140 feet,some part being sold to Mr. Baker. Afterwards, plaintiff constructed two stables and carriage houses cn the back part of this lot adjoining or near to Alpine Place. In constructing these stables he excavated down some twenty-five or thirty feet. Afterwards the floods came and washed the ground and the excavations now filled up by the street and the earth from the triangular strip, coming down and filling up the excavation, and this is the damage complained of. The claim of plaintiff was that it was caused by the negligence of the city in not protecting plaintiff’s property from the loose earth filled in on the triangular piece, and in not properly taking care of the water that flows along the gutters in Alpine Place. The city claimed that *738the proximate cause of the injury was the excavation made by the plaintiff; that plaintiff had removed the natural support from the soil,and had not properly provided against the earth which would naturally fall into the excavation.
Under these circumstances, what were the natural rights of the parties? Of course,whoever was negligent was liable for the damage. If the city permitted the gutters to get out of repair, and remain that way, and the water flowing over the gutters washed the dirt on plaintiff’s stable and wrecked it, the city would be liable for its negligence — would be the proximate cause. On the other hand, if this did not occur, and the damage was caused by the plaintiff’s making an improper excavation under the circumstances as regards the soil as it was when he made it — the city would not be liable. The question was raised in argument as to the rights of the parties as to the triangular piece of ground, the earth from which fell into the excavation made by this plaintiff.
When plaintiff bought his lot this piece of ground wasjn the condition that it was in when the damage occurred. The stone had been quarried and the earth filled in. In making this excavation he was bound to provide against the earth as it was then, and the city was not bound to take any more care of this soil by reason of the plaintiff’s having made his excavation than it did before. As a matter, of course, the city was bound, in using this piece of ground, to use it in such a way as the soil required as it then was. In both cases the plaintiff and the defendant could not act towards this ground as it was originally, with a rock foundation, but must' treat it as earth filled in. When the plaintiff bought this lot he knew or should have known that the rock had been removed, and he bought his lot subject to the known condition of this lot adjoining his. The question, then, for the jury, was, did the city negligently permit the water to flow over the gutters of Alpine Place and this triangular piece of ground onto the defendant by reason of which this damage was done, or was the damage done by reason of the negligent way in which plaintiff constructed his buildings and excavation?
It was claimed in argument,and this was the main ground of error alleged, that the court did not properly charge the jury, and that the charge given was not the law.
We see nothing in the charge inconsistent with the view of the rights of the parties above expressed, unless it be as to the second special charge asked by the defendant and given by the court, which special charge was as follows: “If the *739damage would not have occurred but for the excavations made by Curry, taking away the lateral support of the city’s property, then there can be no recovery against the city. ” Standing alone, as an independent proposition of law, we are of the opinion that this would not be a correct statement of‘the law, as applicable to the case on trial; but the court had just said to the jury, “now, if the city negligently allowed its water to run, as claimed by the plaintiff here in this case, and this trouble is traceable to the water running down Alpine Place, over onto these premises, causing this injury, why the city would be liable for whatever trouble grows out of such negligence. ” The charge should be read as a whole, and the parts harmonized,if possible. It will not do to fish out a clause here and another there in a charge and give them an independent meaning, when, if taken in connection with other parts of the charge, they would have a different meaning. So in this case we are of the opinion that this second clause or charge given must be taken in connection with the other parts of the charge, and if so, we do not see how the jury could have been misled, or that the law was incorrectly given.
Mathews &amp; Cleveland, for Plaintiffs in Error.
Corporation Counsel, Contra.
We are therefore of the opinion that there is not error in the judgment of the court of common pleas, and the same will be affirmed.
